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                                 7
                                 8                             UNITED STATES DISTRICT COURT
                                 9                            CENTRAL DISTRICT OF CALIFORNIA
                             10
                             11        ANTHONY BOUYER, an                 CASE No.: 2:20-cv-07802-PA-AFM
                                       individual,
                             12
                                                                          Plaintiff’s Application for Default Judgment
                             13                  Plaintiff,               by Court as to Defendant LAXMI
                                                                          HOSPITALITY, LLC, a California limited
                             14        v.                                 liability company
                             15
                                                                          Hon. Percy Anderson
                             16        LAXMI HOSPITALITY, LLC, a
                                       California limited liability       Date: December 21, 2020
                             17        company; and DOES 1-10,            Time: 1:30 p.m.
                                       inclusive                          Ctrm: 9A
                             18                  Defendants.
                             19
                             20
                             21
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                             23             To Defendant LAXMI HOSPITALITY, LLC, a California limited liability
20062 S.W. BIRCH ST., STE. 200
  NEWPORT BEACH, CA 92660




                             24      company, and its attorneys of record, if any: Please take notice that on December 21,
     MANNINGLAW, APC




                             25      2020 at 1:30 p.m. or as soon thereafter as this matter may be heard by this Court
                             26      located at 350 W. 1st Street, Courtroom 9A, Los Angeles, CA 90012, Plaintiff
                             27      Anthony Bouyer will present his application for default judgment against Defendant
                             28      LAXMI HOSPITALITY, LLC, a California limited liability company. The Clerk has



                                                PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT
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                                 1   previously entered the default on Defendant LAXMI HOSPITALITY, LLC, a
                                 2   California limited liability company on October 16, 2020.
                                 3         At the time and place of the hearing, Plaintiff will present proof of the
                                 4   following matters; (1) Defendant is neither a minors nor incompetent person nor in
                                 5   military service or otherwise exempted under the Soldier and Sailor’s Relief Act of
                                 6   1940; (2) Defendant has not appeared in this action; and (3) Plaintiff is entitled to
                                 7   judgment against Defendant on account of the claims pleaded in the complaint, to wit:
                                 8   a violation of the Americans with Disabilities Act, including violations of the 2010
                                 9   ADAAG Sections 406.5 and 406.1.
                             10            Plaintiff seeks an Order directing Defendant to remediate and provide
                             11      accessibility features that comport with the 2010 ADAAG for the property located at
                             12      20157 Ventura Blvd., Woodland Hills, CA 91363. Plaintiff further seeks $4,644.00 in
                             13      attorney fees and costs as set forth in the attached declaration of Joseph R. Manning,
                             14      Jr. and declaratory relief. This application is based on this notice, the declarations
                             15      submitted in support of this motion, and other matters which may be presented at the
                             16      hearing.
                             17            Notice of this original application for default judgment by court was served on
                             18      Defendant LAXMI HOSPITALITY, LLC, a California limited liability company on
                             19      November 16, 2020, by first class United States Mail, postage prepaid.
                             20
                                     Dated: November 16, 2020              MANNING LAW, APC
                             21
                             22
                                                                    By: /s/ Joseph R. Manning Jr.
                             23                                       Joseph R. Manning Jr., Esq.
20062 S.W. BIRCH ST., STE. 200




                                                                      Attorneys for Plaintiff
  NEWPORT BEACH, CA 92660




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     MANNINGLAW, APC




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                                                PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT
